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                      UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OKLAHOMA

  In Re Genentech Herceptin (Trastuzumab)          )
  Marketing and Sales Practices Litigation         )
                                                   )
                                                   )     Case No. 4:16-md-02700-TCK-JFJ
                                                   )



                   ORDER SCHEDULING BILL OF COSTS HEARING

        At the direction of the Clerk of Court, the above referenced case has been set for a Bill of
 Cost hearing on May 15, 2019, at 10:00 A.M. The hearing will take place before the Clerk of Court,
 Mark C. McCartt in the Clerk of Court’s Office, Room No. 411, U.S. Courthouse, 333 West 4th
 Street, Tulsa, Oklahoma.


        If there is no written objection filed to the Bill of Costs, the Clerk of Court’s Office will
 tax the Bill of Costs in accordance with the Federal Rules of Civil Procedures and the Local
 Rules; and your appearance at such hearing will not be necessary.



                                             Mark C. McCartt
                                             Clerk of Court, United States District Court


                                              s/Mark C. McCartt
                                             By: Mark C. McCartt, Clerk of Court




                                                                 Order on Bill of Costs Hearing (CV-23 1/2017)
